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Honorable Judge Carl J. Nichols,
I am wri9ng you today to talk about my caring, though=ul, intelligent, loving brother in law Larry
Giberson. I met Larry in 2009 when my husband and I started da9ng and Larry was just a young boy.
Through the years I have had to pleasure of watching him grow up and become the selﬂess, responsible,
family centered young man he is today. From a young age I no9ced Larry has always been special. He
was never the typical young boy, he was so wise beyond his years in many aspects of his life. He was
always interested in engaging with the adults and we had some great conversa9ons even when he was a
liJle boy. I was so impressed with all the things he did growing up and the diﬀerent areas of school he
was involved in. From mastering French in high school, to singing in his school choir, he kept himself busy
and always strived to learn at an extremely high level.
In more recent years I got to see him take on a role that has been extremely special to me, becoming an
uncle to our two children, Reagan age 5 and Cooper age 2.5. I cannot say enough about the love he has
for our kids and the special bond he has with them. He was ﬁnishing high school and thinking about
college when Reagan was born, but he always made 9me to come and visit. Most oQen he was the one
calling me saying, “when can I come over next to visit my niece and nephew”. For most college kids, the
last thing on their minds is making 9me for their infant and toddler nieces or nephews, they are too busy
focused on all things college and just thinking about the social scene. But Larry is a special person and so
mature and family oriented and he always has been. He would drop anything to come help out a family
member, or just to be there, and spend quality 9me together even while he was extremely busy in
school.
One instance really s9cks out in my mind demonstra9ng Larry’s selﬂess character and love for his family.
In February of 2022 I was scheduled for a surgery. The recovery was diﬃcult and I was unable to pick up
my one year old son for two weeks. During the week following surgery my husband unfortunately had a
work obliga9on he was unable to reschedule and would not be here to help me with the children. Larry
immediately dropped everything as a 21 year old and said “I will come stay with you and help with the
children while Nick is away for work.” My son Cooper at the 9me was also not a great sleeper and would
wake up mul9ple 9mes throughout the night. I warned Larry of this and he didn’t hesitate for a second.
The ﬁrst 9me Cooper cried at 2 am, he immediately jumped out of bed and held him in the rocking chair.
I listened through the door and heard him singing a sweet lullaby to get him to fall back asleep. It was
such a special moment I will never forget, and be forever grateful for.
Reagan and Cooper absolutely adore their uncle Larry—in our house he is their Uncle Junior thanks to
my husband’s love of The Sopranos—and it is so special to see them interact together. We are so lucky to
have him in our lives and love him so much. My husband and I are pregnant with our third baby, due in
April and I know Larry is so excited to be an uncle to this baby and have a special rela9onship with he or
she, like he does with Reagan and Cooper.
Your Honor, I know you receive many leJers like this, and I want to thank you for taking the 9me to read
about my personal rela9onship with Larry Giberson. He truly is a genuine, loving, responsible,
though=ul, family man. I hope and pray that you show leniency and minimize the amount of 9me Larry
has to spend apart from his family that he cares for deeply. My children would be devastated if they had
to go a period of 9me without seeing their Uncle June who means the world to them. I implore you to
weigh the convic9on against the way he has lived his life as an upstanding young man who loves his
family and has his whole life ahead of him to start a bright future.
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Sincerely,
Caitlin Gardiner
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To Judge Carl Nichols,


My name is Christine Scharf. My husband is Richard Giberson Jr., and Larry Giberson Jr. is
Richard’s nephew. I have known Larry since 2008 and he was my neighbor for many years.

He went to school with my daughter Madeleine Scharf, and the two were thick as thieves for
many years. He has been a part of our family for many years, and he spent many nights at our
house as a young boy for dinners telling us fun facts and making intelligent conversations and
generally keeping me and my husband on our toes. He is a lovely young man who is kind and
caring. He is fun to be around. At every family function he always finds a moment to pick me out
of the crowd and have a conversation with me, which in the early years of being with his uncle
always made me feel included even as a new member of the family. He did amazing in school
and received a full scholarship to Princeton where he graduated, and the whole family was so
excited and proud, myself included. We were unfortunately unavailable to attend his graduation
party in full, but we were able to swing by and help set up for a bit beforehand. Larry was so
gracious as host and insisted that he completely understood our prior engagement and thanked
us over and over for stopping by even for a little bit.

In the many years that I have known him, he has never been in any trouble or caused any
trouble. He is a very good young man and he is deeply loved by us. Though I’m sure you have
received so many other letters saying the same thing, I thank you for considering my letter in
your determination. I hope that I can provide a window into Larry’s life that you might take into
your consideration and that you will show him leniency.


Sincerely,

Christine Scharf
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October 24, 2023

Judge Carl J. Nichols
USA v. Giberson, 1:23-cr-00115
U.S. District Court for the District of Columbia
333 Constitution Ave., N.W.
Washington, D.C.

Honorable Judge Nichols,

          I would like to tell you about my friend and neighbor Larry Giberson. I have

known Larry for just under three years, and have seen him grow even in that short time

(though the pandemic makes it seem like much longer) from a teenager into a pleasant,

respectful young man.

          Larry is always happy to help myself and the others in the neighborhood with a

smile on his face. I have known him to be a kind and generous person. Just earlier this

year, our neighbors across the street had a horrible house fire, and Larry and his mother

rushed home from what they were doing to help comfort them and handing out water

bottles and offering whatever else they could to the first responders all up and down our

street.

          Thank you for reading this letter. I hope this letter gives you an idea of his good

character and perhaps you might show some leniency for a good young man with a

bright future.



Sincerely,




Don Callahan
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October 25, 2023
Judge Carl J. Nichols
USA v. GIBERSON 1:23-cr-00115
U.S District Court for the District of Columbia,
333 Constitution Ave, N.W., Washington, D.C.

Honorable Judge Nichols,

I’m writing this letter to shed some light on my friend Larry. I’ve known Larry now for
the last 7 years. We met because we are coworkers. I consider myself extremely lucky
because I love the people I work with. They are like my family. We all feel that same way
and share that same bond. We are blessed to feel this way about each other. And that
includes Larry, and I know so many others share the same views as I do. It’s not always in
life that your coworkers become your friends but in my case, with Larry, that is exactly what
happened. I’ve had the last 7 years to get to know him and the times we have spent together
have always been enjoyable. He has a great sense of humor and is always making me and our
other coworkers laugh. He is kind, the type of friend who stops and grabs you a coﬀee when
he knows you are having a bad week. He is the type of friend who opens up his home to you,
as I’ve seen him do with so many others. If you are in trouble or struggling Larry is someone
you can call at 3 am and he will jump right out of bed to do whatever he can to help. He has
helped me so many times, graciously without ever asking for anything in return. He doesn’t
hesitate to do all he can do for his friends.

Aside from his attributes as a friend, he is a terrific co-worker. Larry and I work the same
position as a server in a restaurant and oftentimes we work the same shifts. I always say that
me and Larry make a great team at work. He is always lending a hand if I need it. Sometimes
I don’t even ask, he just sees me struggling and swoops in. I would even go as far to say that
sometimes he puts my work ethic to shame. Larry has a great rapport with customers and
it's obvious everyone who is waited on by Larry loves him, trust me I’ve been told. I have
never seen or heard Larry call out for work. If anything he's always there early doing what he
needs to do or picking up shifts for fellow coworkers. Which he has also done for me
countless times. His reliability is incredible.

I hope this letter finds you well Judge Nichols. I really wanted to shed some light on the
type of person Larry is and give you some insight from a person who has known him for
years. Hopefully you will take all of this into consideration when it comes time to sentence
Larry. Thank you for your time and thank you for reading my letter.

Sincerely,
Haylee Potts
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Dear Judge Nichols,

          I appreciate your time and consideration in reading this letter. I have known Larry Giberson
Jr. for all of his life. As my younger cousin I have watched him grow up. We are fortunate to have a
big family and all of us are very close and spend time together often. I am writing to you at this time
to speak to the qualities of my dear cousin, who even in such a big family stands out as an exemplar
of many of our best qualities. Our family in general has a strong work ethic and Larry is a prime
example. When things get tough, he steps up and helps out without question and without needing
any thanks.

        Even early on when he was a young boy he was polished, intelligent, and well spoken. As he
got older these same traits continued and his unique personality bloomed. As a family oriented
person, we spend lots of time together at family gatherings, of which there are many, as well as
plenty of times meeting up just us. Larry is not just my cousin, he is my friend, he is the person
when I walk into a room and he is there I am full of joy to see him and we could talk for days on end.
We have had many great conversations that have really helped me to see, outside of a family
member and friend, who he is as a member of society. As a manager and leader during his time
working in the hospitality Gield, I have had many enlightening conversations with him about how he
chose to navigate challenging situations with customers who need a bit more attention and staff
that posed a challenge to his worldview.

        Last year when he was still managing at one of the restaurants he worked at, he recounted
to me the story of how one of his employees quietly conGided in him that they had originally felt
uncomfortable when just starting out at the job to disclose that they were nonbinary and didn’t feel
comfortable being called by female pronouns, but would prefer it now that they had been working
there a while to be addressed in the way that made them feel most comfortable. Even though he
comes from a small-town conservative background that is not exactly known for being particularly
accepting of ideas like that, Larry went out of his way to make sure that his staff felt included and
comfortable, whether or not he agreed with the ideology. Larry has this amazing ability to
understand people and can see where they are coming from, even if they are so different from him,
and he is always trying to empathize and make them feel at home, to treat everyone he meets as a
person worthy of respect. This is one of the reasons we get along so well even though we are
different genders, have chosen different career/education paths, and are 14 years apart in age.

         I know that Larry is always there for me and my family. My husband Ron and I have a baby
girl on the way (as of writing I am 30 weeks along!) and I know that Larry is so excited for us and to
help us out in any way he can, the way he always does for me, my husband, our family, and anyone
else he meets. Larry is just that giving, that loving, that kind.

         Your Honor, I thank you again for taking the time to read this letter and allowing me to
share. I hope that I could give you a better picture of my dear cousin and that that picture can be
reGlected in your judgment.


Sincerely,

Jacquelyn Rose Giberson
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Judge Carl J. Nichols
USA v. GIBERSON 1:23-cr-00115
U.S District Court for the District of Columbia
333 Constitution Ave, N.W., Washington, D.C.


Your Honor,

My name is JD Butler. I am the boyfriend of Larry Giberson's mother
Jackie Fife. Jackie and I have been together since July of 2018, a little
more than 5 years. Larry was 17 years old when I was first introduced
to him.

My first impression of Larry was one of fascination and interest
As a recently divorced father of 3 grown children, my reference of a
17-year-old young man came from my own two boys and daughter
who were in their early twenties and in or out of college when I met
Larry. My children played sports, had lots of friends and seemed to
always have a strong supportive group, and I'm sure they take that all
for granted and never considered a life without two parents at home
and many core friends to lean on.

I learned immediately that Larry did not have the same experience as
my 3 kids. Although Larry was active at school and had some friends
in chorus and at work, I could tell he was carving his own successful
path through his teen years without the same foundation my kids
seem to have had.

My fascination with Larry is that he knew who he was and the cards
he was dealt and he clearly with determination and passion kept
moving forward in a positive way. He has absorbed so much
knowledge by turning his attention to learning. Yes, he was a top
student and a few years later got into Princeton. But I noticed he was
just a sponge on all subjects and cultures that far exceeded what
school required of him. I was always fascinated with his knowledge
and our conversations with him are ones I cherish because I learned
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so much from him and I would think to myself I could never have a
conversation like this with any of my children. Larry’s knowledge and
wisdom is far beyond his years and maybe his generation. Beyond
mine for sure.

My observations and time spent with Larry told me he was a young
man with conviction and a plan. Despite what the “world” told him to
do or how to do things, Larry was going to do it his way...why, because
his way worked for him, and he has had great success in doing it his
way. He figured it out on his own with no short cuts taken.

I recall that Larry’s plan after excelling at Princeton was to do
something to make a difference in this world. He spoke of Law School
at Penn after traveling to Japan. Aside from working every weekend
and every summer more than 40 hours, he was passionate about his
country and how government worked. He was and is a wealth of
knowledge on not only how the Unites States government works but
every other nation as well.

I was not with Larry and his mother on January 6th. I recall it being a
last-minute decision on their part to go and although I'm conservative,
we did not really discuss the need to go. There was no “Mission” in
going for Larry and his mom, as clearly it was for others.

In my opinion, the 2020 election period was very exciting for Larry
because he understood the process and how things worked. This time
was exciting for him, maybe similar to watching your favorite baseball
team on a World Series run. You get caught up in the hype and
excitement and you want to be at that winning game. I feel Larry
wanted to be a part of something that he was passionate about, I
know he had no intention to be caught up with the wrong crowd. In
fact, I think that is the first time he has ever been part of a wrong
crowd situation and I'm confident it is his last. He has suffered greatly
because of that day, and I pray he gets that passion to do great things
in the years ahead after this has all passed.
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Larry is a great young man, and he has so much to offer this world. I'm
confident he will do just that. I only ask that you do the world a favor
and grant him a second chance. You won’t be disappointed in the
outcome.


Sincerely,

JD Butler
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October 20th, 2023



Judge Carl J. Nichols
U.S. District Court for the District of Columbia
333 Constitution Ave, N.W.,
Washington, D.C.



USA v. Giberson 1:23-cr-00115



Honorable Judge Nichols,

We know that you have a busy schedule and we thank you for taking the time to
read about our relationship with Larry. We first met Larry Fife Giberson as a
customer in the summer of 2017. He was a loyal regular from the very beginning
and throughout the months and years, we shared many conversations leading to
developing a close friendship.

In the spring of 2019, Larry started working with us and became a valuable
employee, offering support in all aspects of the running of our business. He proved
very dependable and hardworking, putting in many hours whilst still keeping up
with his academic work in high school and college and holding down another job as
well. Larry has always been a well spirited, engaging and courteous employee. He
became a well known figure and was much appreciated by our customers. He also
was always cracking jokes and keeping up spirits during the long work days, which
was greatly appreciated by all our staff.

When we made the decision to move our business location, Larry spent countless
hours of his winter break, spring break, and right after finals week working late into
the night, helping us to draw up plans for the new layout, assembling furniture,
painting, etc., and keeping us motivated and cheerful during this particularly
challenging time and new territory for our business. He was indispensable for so
long during his time with us and we consulted him on a great deal of things about
the business, and even though we didn’t always agree he was always trying his
best to help our business succeed. Even though he has not worked with us for a
while, we still appreciate his advice and keep him in the loop about the goings-on
and he is always eager to lend an ear.

We also had the pleasure of getting to know Larry and his family outside of work as
well. Larry once spent a New Year’s Eve at our home and we had a lovely dinner
and played Monopoly early into the morning. Larry has always been there for us
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outside of work, dropping whatever he has going on to lend a helping hand. Last
year when we were having car troubles, he was very gracious to drive us up to
Newark Airport to pick up our daughter Amélie so we didn’t have to rent a car. We
had the pleasure of knowing Larry’s mother as a customer as well, and have also
been extended invitations to some social gatherings, where we met other members
of his immediate family and were warmly welcomed. It is always a pleasant
surprise when Larry makes the drive down the island to visit us and have a crêpe
and coffee and chat, and we still love to meet up for dinners with him every once in
a while when our schedules allow.

Larry has always been more than a former customer and employee to us and we
will always hold in high esteem our friendship with him and his family. We hope
that we have shed some light on his generosity and caring character and ask that
you show him leniency in your judgment.



Sincerely,

John and Nadia Albright
Owners
Crêperie de la Mer
210 North Beach Avenue
Beach Haven, NJ 08008
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John P. Fife
2404 Aspen St.
Philadelphia, PA 19130

October 24, 2023

The Honorable Carl J. Nichols
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
333 Constitution Avenue, NW
Washington, D.C. 20001

Re: United States vs. Giberson 1:23-cr-00115

Dear Judge Nichols:

I am writing on behalf of my nephew and Godson, Larry Fife Giberson, who will appear before
your Court for sentencing on November 1, 2023. I have known Larry since he was born and am
writing to share with you a, hopefully, complete picture of who he is. Since he was a little boy,
Larry was a very intelligent, inquisitive, and compassionate person. He was raised primarily by
my older sister, Jackie, since she and Larry’s father divorced many years ago. He was raised to
be honest, caring, respectful, and loving. He has borne those traits out in spades over the past
twenty plus years.

Throughout his childhood and adolescence, Larry demonstrated how intelligent he truly was; he
made the National Honor Society and produced outstanding achievements in the classroom. I
was so proud of him when he was accepted to Princeton University; what an incredible
achievement for a young man who was raised by my sister in a small community along the New
Jersey shoreline. I knew he was destined for great things and also knew that Princeton could be
a place for him to flourish.

While many adolescents and young adults Larry’s age may spend their college years partying,
Larry has immersed himself in academics at Princeton, but also working on weekends and
whenever he had time. He did this to save money for the future. In many ways, I wish I had the
wisdom he has when I was his age. He continues to work to save for the future, while he decides
on his career path having graduated from Princeton this past spring.

My nephew is imperfect and has made some poor decisions along the way. Nevertheless, he is a
wonderful and kind young man with a very bright future ahead of him. His intelligence and
perseverance will one day serve his community and profession well. I respectfully ask that you
consider the totality of my nephew’s character and life in his sentencing decision. Thank you in
advance for your consideration.

Respectfully,
John P. Fife, J.D.
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To the Honorable Judge Nichols,

        Unfortunately, you don’t know my brother Larry like I do. You don’t know the
hardworking man that he is, the dedicaAon he puts towards everything he does. He is a great
brother to his 4 brothers, he cares deeply for his niece and nephew and cares for his family like
no one else does. He is always there for his family. We do a family campout every year, I’ve seen
him work a double, unAl 2am and then drive across the state just to be at campout breakfast
with the family.
        I remember my father and stepmom telling me I was going to have another brother,
even aHer 22 years I sAll remember my excitement. I couldn’t wait to meet my new friend. Larry
and I grew up in chaoAc households, to say the least. We have diﬀerent mothers, but the same
father. So, with that we lived in diﬀerent houses, and being 8 years apart we didn’t get to grow
up as close as I could have hoped for. But I was sAll there. I watched him 8 years younger than I
learn more, and faster than I ever could. He was speaking Spanish and signing ASL before I knew
what hola meant. I have goOen to watch him grow from then through every year in school
leading his class GPA, singing his heart out for all 4 years in high school choir.
        Larry jumps into everything he does whole heartedly. His commitment to everything he
is involved with is how he got his Princeton University academic scholarship, which I was
grateful to be able to watch him walk across that stage this year as the ﬁrst Giberson to receive
a college diploma. In our household most of us work too many hours, not spending enough Ame
at home. Through most of his years at Princeton he worked more and harder than anyone in our
family. He carried 2 full Ame jobs through most of his Ame there while carrying a full class load.
Something no one else I know could have done.
        While Larry and I don’t agree on everything and argue as brothers do someAmes, I know
he is always there for me, to support me, to love me, and to have an honest conversaAon with.
A few weeks ago, we were able to travel together to present our brother Mason with his 4-year
sobriety chip, something that most people wouldn’t take the Ame to do while in the middle of
the situaAon he put himself in that is having me write this leOer. Larry is the man to put others
in front of himself, to sacriﬁce his own needs for others. While there are no excuses for the
mistakes he has made, I hope you can see them for being that, mistakes, a mistake that he
knows is going to follow him for rest of his life.
        I am wriAng you this leOer in hopes that you can see the Larry that I know, not the one
that his charges are saying he is. The caring, hardworking, driven man I have had the pleasure of
growing up with. I am only reaching out to you because I do trust him, and I do truly believe he
is a good man.

Thank you for your Ame sincerely,
Kanev Giberson
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October 24, 2023

Judge Carl J. Nichols
USA v. Giberson, 1:23-cr-00115
U.S. District Court for the District of Columbia
333 Constitution Ave., N.W.
Washington, D.C.

Honorable Judge Nichols,

       I wanted to write to tell you a little about Larry Giberson. Larry is one of the best

people I have ever met. I am truly lucky to have met Larry in my lifetime and I can only

hope that I am able to make you see Larry the way I do.

       Larry is an amazing person, to say the least. Larry is giving and kind and open

hearted, and anyone who comes in contact with Larry walks away feeling a little bit

better about themselves. Larry just has that effect on people without even trying. I have

known Larry for almost three years since his family moved next to us, but it feels like so

much longer. Since then every time I reflect on our friendship, I realize how lucky I am

to have Larry in my life. Larry is always there to help my family and I with anything, no

matter what the task may be. Whenever we want to go to Mud City for dinner, Larry is

always so gracious to get us on the list, even when the wait is hours long, even when he’s

not working that night, and even though they’re not technically supposed to take

reservations. Larry goes above and beyond to help out the people he cares about.

       I am sure you’ll get many letters like this about Larry, which should let you know

what a kind and fabulous individual you are dealing with.



Sincerely,




Kathleen Callahan
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To the Honorable Judge Nichols,

First, I would like to introduce myself, Larry Giberson Sr., father of Larry Giberson Jr.
Fortunately I was blessed in my second marriage when Larry was born, my fourth son, and I
knew before he was two years old that he was going to be someone special. His ability to learn at
such a young age was amazing and often had me and anyone that interacted with him in awe. As
an infant we had taught him sign language, which I believe really started off his amazing ability
to communicate with people of all ages.

Although the marriage did not last, our family bond is strong and Larry totally embraces bringing
the extended families together. I see such empathy in him the way he deals with all of that plus
the way he is with his oldest brother of all my sons, Logan, who is epileptic and needs constant
care.

I love that Larry takes extra time and effort to keep bonded with our whole family, especially his
grand-mom, Marie Giberson, which is still strong today as he selflessly calls, visits and helps
them with anything they would possibly need. Since he was a toddler he would often go to
dinner with my parents and their friends, which sometimes seemed odd to me that people two
generations ahead wanted his company, but I believe it helped form him into a very well-rounded
young man in front of you today.

I watched as Larry’s grades and attendance at school from the very beginning were just
absolutely stellar as he was the most self motivated student of life that I have ever been around.
He would constantly be reading and I even remember him giving himself projects to do that were
not even a requirement of his schooling.

Larry and I had a conversation when he was in 7th or 8th grade and he informed me he would
attending an Ivy League college one day, possibly Princeton. As a dad, my mind was racing
because here I have this young, brilliant, formidable 11 or 12 year old shooting for the stars on
his own accord. This not only blew me away, but it scared me because I just wanted to protect
my son and not have him feel rejection at such a young age. I also knew his capability and was
wondering just how we were ever going to pay for such an education because he might just pull
it off. His determination and drive was relentless and he one hundred percent on his own
positioned himself over the next few years to be in that position to get himself the opportunity.
When it was time for him to start sending letters off to colleges he informed me that he was
doing an early commitment to just Princeton which he explained also meant that he could not
apply anywhere else and if he didn’t get accepted, then he would be months behind other
applicants to other schools. I was explaining about having all his eggs in one basket and trying to
give him fatherly advice but learned a great lesson that day from Larry instead. I saw it in his
eyes, he was years in the making of manifesting his own destiny, and I had to allow my personal
parental fears to take a backseat. That day your Honor, I saw my youngest son’s true character, of
the quality man I was watching him become.
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His drive and motivation was unwavering as he not only maintained being the top student in his
class almost every year, but also volunteered for local events, helped at church and community
functions. As much as people credit his mom and myself, really it was his good character,
dedication and perseverance that put him into Princeton. In high school and throughout college
Larry chose to continue working a job in addition to his schoolwork so he had skin in the game,
which I promoted for all my boys. I take a lot of pride in his work ethic as he maintained jobs
and as a busser, waiter, bartender, and manager, which I truly believe keeps a well-educated
person grounded.

I wish that we all could be perfect all the time, but ultimately it is trials and tribulations that we
learn from, that we grow from, and Larry is no different. Unfortunately and fortunately many
times in my life, I have allowed my passion to get the best of me. Thankfully, I have learned
from those small moments in time and they did not define me, they helped form a better me. At
57, I still do not always get it right, but I can still keep trying and growing because thankfully
nothing in my past is holding me back. I only want the same for my boys.

I think there there is no greater example of Larry’s good character than how he has handled
everything relating to this case. There are a million other ways for someone in his situation to act
or behave, but through it all he has been cool and collected, accepting the reality of the situation
and facing it head-on with dignity and responsibility. The fact that he knows that this is the right
way, the only way, to handle this, proves the depth of his character and his virtue, and
demonstrates that amazing ability of his to learn and grow like no one else I know.

I can only hope and pray during these proceedings that you can see the true quality young man
that Larry really is. The compassionate, loving, loyal grandson, friend, brother and uncle that I
am blessed and proud to call my son. Thank you for your time.

Sincerely,
Larry Giberson Sr.
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October 25, 2023

Judge Carl J. Nichols

USA v. GIBERSON 1:23-cr-00115

U.S. District Court for the
District of Columbia, 333
ConsJtuJon Ave, N.W.,
Washington, D.C.


Dear Judge Nichols,

I'm wriJng to you in support of Larry Giberson, Jr. I ﬁrst met him in 2010 when I became friends with his mother, during
which Jme she was separated and going through a divorce with Larry's father. It was diﬃcult Jme for their family. Although
Larry was just a young boy while he was experiencing this upheaval in his life, I was struck at what a truly bright light he was:
always posiJve, smiling and happy while being cooperaJve, helpful and respecVul of his mother. What also amazed me was
his ability to converse and communicate with adults. He had the maturity of a grown up in a kids body! He was and sJll is a
joy to be around!

I watched Larry persevere throughout the years. There were a number of things that could've easily knocked the wind out of
his sails but he never let negaJve events in his life get him down. Besides the fact that he and his mother had to move a few
Jmes, forcing him to change schools and make new friends, he endured an ongoing, challenging relaJonship with his father. I
was amazed Jme and Jme again with how he handled visitaJon with his father who tended to be emoJonally distant, self
absorbed and even confrontaJonal with Larry at Jmes. Instead of reacJng in any negaJve way, Larry would always take a step
back and try to understand the dynamics behind his father's behavior. He really loved his dad uncondiJonally, always treated
him with dignity and respect and as a result they've maintained a good relaJonship.

Larry always knew he wanted to go to college and worked very hard to do well in high school, understanding how compeJJve
the admissions process would be. One of the best days of his life was when he received the le[er of acceptance into
Princeton University! We were all so proud of him! He hit the ground running in his freshman year but everything came to a
screeching halt when the pandemic hit. Once again, he persevered through the shutdown, never ge]ng discouraged and
always keeping his eyes on graduaJng, which he did this year. All throughout college, when he wasn't a[ending class, he
worked at local restaurant to support himself, making sure he would never be a ﬁnancial burden on his mother.

In summary, over the last 13 years, I've watched Larry Giberson grow up and each Jme he was faced with challenges (many
that would have been diﬃcult for a person twice his age), he's always reacted thoughVully and handled himself with
composure and dignity. I'm very proud to know him! I hope that my le[er has helped to give you a be[er idea of the young
man before you in this case and ask that you show him leniency in your judgment. Thank you for your Jme.




Sincerely,

Laura J. Mutz
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                                                                                October 26, 2023


Judge Carl J. Nichols
USA v. Giberson 1:23-cr-00115
U.S. District Court of the District of Columbia
333 ConsGtuGon Ave, N.W.
Washington, D.C.


To the Honorable Judge Carl Nichols,
I am wriGng this leMer to aMest to the character and reputaGon of Larry Giberson. I have known Larry for
about 1 year and have the pleasure of working alongside him at Mud City Crab House. I can vouch that
Larry has been a person of great morals and integrity over the Gme that we have known each other.
Personally, Larry has shown my family and I support, compassion and love during the loss of my son,
Dylan, who was also a co-worker and friend to Larry over the 4 years they worked together. In the Gme
since his passing last October, I have taken up a part-Gme posiGon at Mud City, and was immediately
treated as a member of their family just as they had treated my son. Larry was no excepGon and he
helped to make me feel at home. He was always willing and ready to help me learn the ropes of the new
bartending role I found myself in, and we have spent many mornings seWng up over the last year ﬁlled
with laughter and fun.
I can further state that Larry has been immensely dedicated to his family and work, and a loving person
towards friends as well. He has been known to be helpful and compassionate and is a much-loved
person by all. I thank you for your Gme and hope that my leMer can give you some insight into the kind of
person Larry is and that this will help you come to a fair decision when it comes Gme for his sentencing.


Sincerely,
Miranda DeStefano
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October 12, 2023

Judge Carl J. Nichols

USA v. GIBERSON 1:23-cr-00115

U.S. District Court for the District of Columbia
333 ConsJtuJon Ave, N.W.
Washington, DC 20001


Honorable Judge Nichols,

First and foremost, thank you for taking a moment to read this lePer. I know you maintain a busy
schedule and your Jme is very much appreciated.

Larry Giberson is my (much) younger brother. I’m 36 years old and he is 22. We share the same biological
mother, Jackie Fife, but not the same father. Jackie became pregnant with me when she was young, 17
to be exact. On September 9, 1987, she performed a heroic act by giving birth to me and set up an
adopJon from the day I was born knowing she didn’t have the means to provide for a newborn.

My mom and dad, Ben and Patricia Gardiner, raised me from that day on. They’re two of the most
incredible people and without Jackie, I would never have had the opportunity to be with them. At the
age of 21, I began to get curious about my lineage and began to talk through things with my parents.
A_er ﬁnding out she only lived one town over from me, they encouraged me to reach out to Jackie.

A_er months of contemplaJon and general nervousness, I placed a phone call. A young boy answered
the phone. I’m daJng myself here as landlines sJll were a thing. I heard through mulJple sources Jackie
had another child upon marrying. It was my brother. It was truly a situaJon that not many people could
relate to. Jackie and I had a brief discussion, both realizing how truly surreal it was to be speaking to
each other a_er 21 years.

We met on a freezing Saturday a_ernoon at a local restaurant in early 2009. Having a lifeJme to catch up
on, we stayed from 4:00pm to almost midnight. Larry was 8 years old at the Jme and a_er months of
conJnuing to meet up and get to know each other, we arranged a lunch for the two of us for the ﬁrst
Jme.

A_er instantaneously connecJng, I began to come by the house and hang with him whenever our
schedules aligned. This came at a pivotal Jme in which Jackie and Larry’s father, Larry Giberson Sr., were
amid a divorce. Due to a lack of aPenJon paid by his father, Jackie took on the Mother/Father hybrid
role which is no easy task especially with her son being at such an impressionable age.

Over the past 13 years, I’ve watched him grow from a young boy searching for an idenJty into a
conﬁdent Princeton graduate who is sure of himself and what he wants to pursue in life. He has shown
interest in becoming a lawyer, writer, and staJsJcian, however, whatever he chooses will pale in
comparison to what maPers most to him; his family.
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My (now) wife, Caitlin, and I met shortly a_er my meeJng Jackie and Larry and they formed an
instantaneous close friendship. Caitlin is a voracious reader and they o_en sit down to talk about what
they’re reading and suggest diﬀerent books to each other.

Caitlin and I have two children together, Reagan (5) and Cooper (2 ½), with another one on the way. They
absolutely love their Uncle Larry. He drives up to our home in Medford, NJ which is about 1 hour away
from him at least one morning per week to walk Reagan to the bus stop and talk to her about what’s
happening in school then comes back to play acJon ﬁgures and trucks with Cooper.

I am frequently traveling for work and whenever I’m away, Larry comes up to have dinner with the family
and helps with the bedJme rouJnes. He does this on his nights oﬀ from working mulJple roles at Mud
City Crab House, which is a bustling restaurant oﬀ Long Beach Island.

January 6, 2021 was a day I believe he along with many others would like a mulligan on and just avoid
the D.C. area in general. These past couple of years have been weighing on him in many ways;
parJcularly ﬁnding out what his fate will be through the judicial system and the aPenJon he has
garnered on campus, publicaJons, and social media.

Your Honor, Larry is a good man who cares deeply for his family and friends. There isn’t a thing he
wouldn’t do to help anyone. I’m asking for your leniency in his sentencing and look at the many posiJve
impacts he will have on this great country for the rest of his life.



                                                                                            Respecjully,

                                                                                           Nick Gardiner
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Honorable Judge Nichols,

         I am wri7ng to you on behalf of Larry Fife Giberson. I am Larry’s sister-in-law and have
known Larry for thirteen years. Larry is my husband’s youngest brother and I had the privilege of
being able to witness his growth from a kid to the young man he is today.
         The Giberson family has many diﬀerent dynamics to their family, each member having a
special giF that they grow into as a career or a passionate hobby. Larry’s dynamic giF within the
family was his intelligence and his passion to learn. Larry has always been a wealth of
informa7on in any topic, and would challenge himself to well rounded in food, art, culture,
language, etc.
         As Larry got older him and I created a special rela7onship as we both had similar styles
of passion to learn, and could typically ﬁnd something to talk about. As Larry moved into
adulthood I started spending more 7me with Larry. The past few years Larry and I spend most
Fridays in the summer together sharing new “facts” about things we have learned, having deep
discussion about our own life experiences, dreams, goals, or laughing about complete
nonsense. I have siblings of my own whom I have great, suppor7ve rela7onships with, but I
believe it is something special to have that also with your in-law’s.
         Being someone who enjoys learning, challenges create the best learning experiences.
Larry has been challenged in many ways as he has a very blended family. Larry has shown great
compassion and has learned the importance of healthy communica7on. Larry also has learned
the value of family connec7on. Just this past month Larry’s brother celebrated 4 years of
sobriety from substances and joined my husband and I to visit his brother to present him with
his 4 year sober chip and to see the suppor7ve work that his brother is providing to others who
s7ll struggle with substance abuse. Larry also will make sure that if an event is occurring to
celebrate someone in the family or a holiday to make sure he is in aOendance. Some7mes
planning his own special ou7ng with that family member. I myself did some post graduate
schooling and Larry was always thoughQul in ﬁnding 7me to ask me how I was doing even in a
text message or phone call or provide an ou7ng for us to celebrate the end of a semester.
         I have presented the idea of the passion of growth and learning in Larry’s life. Larry
when presented with challenges takes them as informa7on that he can use to keep growing into
the young man he is becoming. I have watched Larry take this past year focus more on the
connec7ons in his family, and to explore who is and what he wants to do with his future. Larry is
just star7ng his young adulthood journey. This year, having been challenged with very adult life
choices and reali7es revolving around this case, Larry has made the choice to grow by focusing
on working even harder at his job and taking 7me to grow his rela7onships. Larry also has been
exploring his own iden7ty as a young man and what he would like to do with his future moving
forward. I know that overcoming challenges even those that have been our own choices can be
gateways for paths to be changed. It is my hope in wri7ng this that it will be considered that
Larry will be provided with a chance to learn and grow from this experience and con7nue to be
able to make a beOer future for himself.

Sincerely,
Tia Giberson
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U.S. District Judge Carl J. Nichols
Re: USA v. Giberson, 1:23-cr-00115
U.S. District Court for the District of Columbia
333 Constitution Ave., N.W.,
Washington, D.C. 20001

Honorable Judge Nichols,
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October 26, 2023


Honorable Judge Carl Nichols,
I am wri>ng to you on behalf of Larry Giberson; to make you aware of my impressions of Larry to enable
for you a more complete understanding and apprecia>on of the young man in your presence today.
I met Larry in his pre-teen years during the >me his family and I were just becoming acquainted. I have
witnessed his growth as a person to the man he is today; as a guest in my home, as a customer of his
employer where I oKen dine, during casual interac>ons in the small town in which we reside, and during
one-on-one conversa>ons about our mutual college alma mater.
If asked to describe Larry to someone who has not had the pleasure of our frequent interac>ons, I would
employ words like: courteous, polite, respecMul, hard-working, intelligent, driven, up-beat, posi>ve, and
passionate. He greets with a smile and hand-shake, is relevant in conversa>on and awareness, and
respecMul of the friendship between he and I, and me and his family; his mother, his uncle, his
grandmother. He has demonstrated his desire and ability to exceed academically not just for the
accolades for himself, but to bring pride to his family; the people he loves most. He’s took on extra work
responsibili>es to lessen the ﬁnancial burden a youth puts on his mother. He is always a gentleman.
I am conﬁdent in my impression of Larry based on the nearly 12 years I have known him. I cannot
reconcile how he chose to express his passion on January 6th to the quality of the person I describe to
you today.
I ask Sir that in delibera>ng just punishment for Larry that you consider a degree of leniency aﬀorded to
youthful impulsiveness, naivety, the intoxica>on of social media deceit, and short-lived ques>onable
judgement. I and certain Larry will be a con>nue to be great contributor to our society aKer the shadow
on these past events diminish.
I thank you for your considera>on.
James Balbo
